IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

 

AT NASHVILLE
JANET PATTERSON, )
) Case No.
Plaintiff, )
) Judge:
V. )
) Magistrate:
SAFECO INSURANCE COMPANY OF )
AMERICA, ) Jury Demand
)
Defendant. )

 

NOTICE OF REMOVAL OF CIVIL ACTION

 

Comes now the Defendant, Safeco lnsurance Company of America (hereinafter referred
to as “Safeco”), pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and hereby gives Notice of
Removal of this Civil Action from the Chancery Court for Davidson County, Tennessee, to the
United States District Court for the Middle District of Tennessee, and states as folloWs:

1. On or about Septernber 15, 2010, Plaintiff, Janet Patterson, filed a Cornpiaint against
Safeco Insurance Cornpany of Arnerica in the Twentieth Judicial District of Tennessee,
Chancery Court of Davidson County, under Case Ntunber 10-1514-1, a copy of Which is attached
hereto as "Exhibit A."

2. On Septernber 23, 2010, the Corporation Service Company, 300 Deschutes Way, SW,
Suite 304, TumWater, Washington 98501, received service of process via certified mail,
transferring the Summons and Compiaint to the duly authorized registered agent for service of
process. Corporation Service Company subsequently processed said Sunirnons and Coinplaint on

Septeinber 24, 2010. As of October 21, 2010, the Davidson County Chancery Court Clerk &

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l\/laster had not received a return of the Summons. No proceedings on the Complaint have
transpired in the Davidson County Chancery Court.

3. In a case such as this one, the U. S. District Court has jurisdiction "where the matter in
controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs, and is
between - (l) citizens of different States;" 28 U.S.C. § l332(a).

4. The Plaintiff, Janet Patterson, is, and was at all times relevant to this action, a resident
and citizen of Sumner County, Tennessee.

5. Safeco Insurance Company of America is incorporated in Washington, with its
principal place of business in Seattle, Washington, and is licensed and authorized to do business
in the State of Tennessee.

6. The Complaint filed by Plaintiff, Janet Patterson, seeks damages related to the alleged
breach of contract for insurance, demanding compensation for real and personal property,
violation of the bad faith provisions of the Tennessee Code, pre-judgment interest, all additional
living expenses incurred by the Plaintiff, damages amassed as a result of leaving the property in
a "state of disrepair," rental value, consequential damages, discretionary costs, post~judgment
expenses, costs, expenses, and attorney's fees associated with this litigation, and further relief to
which Plaintiff may be entitled, in significant excess of the sum or value of Seventy~Five
Thousand Dollars ($75,000.00), exclusive of interest and costs.

7. There is a complete diversity of citizenship between Plaintiff, Janet Patterson, and
Defendant, Safeco Insurance Company of America, and the amount in controversy in this case,
exclusive of interests and costs, easily exceeding the Seventy-Five Thousand and OO/ 100 Dollar
($75,000.00) threshold This Court has original jurisdiction of this case pursuant to 28 U.S.C. §

1332.

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8. Safeco Insurance Company of America has filed a copy of this Notice with the
Chancery Court for Davidson County, Tennessee, and has also served a copy on the attorney for
the Plaintiff, Janet Patterson, Mr. Timothy W. Burrow.

9. Counsel for Safeco lnsurance Company, l\/Iichele E. Cooper, is duly licensed to
practice in the United States District Court for the l\/liddle District of Tennessee, and is an
attorney in Good Standing with the Middle District.

WHEREFORE, Defendant, Safeco Insurance Company of America, requests this action
be removed from the Chancery Court for Davidson County, Tennessee, to the United States
District Court for the Middle District of Tennessee, at Nashville.

We respectfully demand a jury of six (6) to hear this matter.

Respectfully submitted,

MILLS & cooPER %)

ELE E. CooPER, BPI€# 17312
50I Thoroughbred Lane, Suite A
Brentwood, TN 37027
(615) 221-8218

ATTORNEY F()R DEFENDANT,
SAFECO INSURANCE COMPANY OF AMERICA

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CERTIFICATE OF SERVICE

I hereby certify on this, the 22nd day of October, 2010, a true and exact copy of the
foregoing was sent via first class mail, postage prepaid, and via electronic transfer/email to
the following:

Timothy W. Burrow
Attorney for Plaintiff
1700 Hayes Street
Suite 202

Nashville, TN 37203

EMAIL: burrowtim@cs.com

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